                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE



  ANDREW JOSTEN LOVINGOOD,

                Plaintiff,
  v.
                                                                     No. 3:19-cv-00009
  BILL JOHNSON, DERRICK GRAVES;

                Defendants.


                MEMORANDUM IN SUPPORT OF MOTION IN LIMINE NO. 1

         This case was filed February 5, 2019. This is the second time the same has been

  pending in federal district court. It was previously filed an non-suited. In the interim, Mr.

  Lovingood attempted to seek criminal liability against this Defendant and this Defendant

  was acquitted.

         With respect to the instant Motion, only Count I of the Complaint asserts any theory

  against this Defendant. Nowhere does Count I in the Complaint or any other pleading

  include a “failure to intervene” claim against this Defendant. No disclosures were made

  by Plaintiff concerning this claim. No discovery has been taken with regard to this claim.

  In fact, this Motion is only being filed as the undersigned remembered the submission of

  a jury instruction by counsel for the Plaintiff on the “failure to intervene” theory against this

  Defendant. Such is insufficient. Not only has Plaintiff not plead this claim, this Defendant

  has not acquiesced to this claim in any other pleading or order.             Accordingly, it is

  respectfully submitted that Defendant’s Motion in Limine be granted and this theory be

  precluded from being submitted to or argued to the jury at trial.




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         RESPECTFULLY SUBMITTED this 15th day of November, 2021.

                                                     s/ Arthur F. Knight, III
                                                     Arthur F. Knight, III, BPR #016178
                                                     TAYLOR & KNIGHT, P.C.
                                                     800 South Gay Street, Suite 600
                                                     Knoxville, TN 37929
                                                     Phone: 865-971-1701
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 15, 2021, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be
  served by U.S. Mail. Parties may access this filing through the Court’s electronic filing
  system.


                                              s/Arthur F. Knight, III
                                              Arthur F. Knight, III




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